                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK



JENNIFER FUNG-SCHWARTZ, D.P.M.,
individually and/or on behalf of patients, and
JENNIFER FUNG-SCHWARTZ, D.P.M., L.L.C.,                Amended Complaint
                                                       and Jury Demand
                             Plaintiff,

                   v.

CERNER CORPORATION and CERNER
HEALTHCARE SOLUTIONS, INC.,

                             Defendants.




                        The Parties, Jurisdiction and Venue

   1.    Plaintiff, Jennifer Fung-Schwartz (“Dr. Fung-Schwartz”) is a medical

doctor with a principal place of business at 50 West 97th Street, Suite 1A, New

York, NY 10025.

   2.    Plaintiff, Jennifer Fung-Schwartz, D.P.M., L.L.C. (“the Practice”) is a

New York Professional Service Limited Liability Company with a principal place

of business at 50 West 97th Street, Suite 1A, New York, NY 10025.

   3.    Dr. Fung-Schwartz’s patients (“Patients”) sign a form which states, “I

authorize that all payments for financial benefits for professional services

rendered be made to Dr. Jennifer Fung-Schwartz, DPM.”

   4.    Upon information and belief, Defendant Cerner Corporation (“Cerner

Corp.”) is a Delaware corporation with a principal place of business at 2800

Rockcreek Parkway, Kansas City, Missouri, 64117. Upon information and belief



                                    Page 1 of 29
Cerner Corp. is registered with the New York State Department of State to do

business in New York State.

   5.    Upon information and belief, Defendant Cerner Healthcare Solutions, Inc.

(“Cerner Solutions”) is a Delaware corporation with a principal place of business at

2800 Rockcreek Parkway, Kansas City, Missouri, 64117. Upon information and

belief Cerner Healthcare Solutions, Inc. is not registered with the New York State

Department of State to do business in New York State.

   6.    Upon information and belief, Cerner Corp. directs the day-to-day

activities of Cerner Solutions and also provides services to Cerner Solutions clients,

including but not limited to acting as the contract manager for Cerner Solutions,

providing customer service and support for Cerner Solutions’ customers and

providing eBilling to Cerner Solutions’ customers.

   7.    The 2014 contract between the Practice and Cerner Healthcare Solutions,

Inc. directed the Practice to fax the contract to Cerner Corporation. The contract

also advised the Practice “To gain access to eBill, contact the Cerner Client Care

Contact Center at 866-221-8877 or e-mail ClientCareCenter@cemer.com.”

   8.    Upon information and belief, cerner.com is owned by Cerner Corp.

   9.    Upon information and belief, 866-221-8877 is registered to Cerner Corp.

   10.   Dr. Fung-Schwartz believed the Practice was doing business with Cerner

Corp.

   11.   According to Cerner Corp.’s 10K SEC filing for the fiscal years ending

December 31, 2016 and December 31, 2015, “Cerner solutions are offered on the

unified Cerner Millennium® architecture.” To use electronic prescription services,

Dr. Fung-Schwartz accesses a webpage with the Cerner Millennium® name and the


                                    Page 2 of 29
statement, “© 2011 Cerner Corporation. All right reserved. Access and use of this

solutions system (including components thereof) require, and are governed by,

license(s) from Cerner Corporation….”

   12.    Monthly metric reports generated for the Practice were titled, “Jennifer

Fung-Schwartz DPM LLC,” and stated on the front page “© Cerner Corporation.

All rights reserved. This document contains confidential and/or proprietary

information belonging to Cerner Corporation and/or its related affiliates…”

   13.    As used herein “Cerner” refers to Defendants collectively.

   14.    Jurisdiction is conferred by 28 U.S.C. § 1332.

   15.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391.


                                     Background

   16.    Dr. Jennifer Fung-Schwartz is a medical doctor, board certified in

podiatry, with a practice located at 50 West 97th Street in Manhattan. The

Practice is the entity which runs Dr. Schwartz’s private office practice.

   17.    In March 2006, the Practice contracted with Cerner Corp., dba Cerner

Physician Practice, Inc. to provide Electronic Medical Records (EMR) services to

Plaintiff. Exhibit 1 is a copy of that contract.

   18.    In 2006 the EMR software and the EMR data resided on a computer in

the Practice’s office.

   19.    At some point between 2006 and 2016, the desktop EMR software was

replaced by an online version. Dr. Fung-Schwartz and the Practice could access

the records, but the data was stored remotely.

   20.    Prior to 2014, medical billing (also called “RCM” for revenue cycle

management) for the Practice was handled by two separate entities depending

                                      Page 3 of 29
on the type of billing: (1) an outside vendor was engaged to handle Medicare

billing; and (2) all other billing was handled by Practice personnel.

   21.    During that time, Dr. Fung-Schwartz used tools within the Cerner EMR

to generate bills.

   22.    RCM is almost all conducted electronically. Insurers will accept paper

forms, but it is the exception and it slows down payment of the claims.

   23.    Dr. Fung-Schwartz and the Practice also used tools within the EMR to

manage all the financial information for the office.

   24.    In 2014, a serious illness affecting a Practice employee made it

unfeasible for the Practice to continue to handle the billing. The personnel issue

did not necessitate changing the outside vendor for the Medicare billing.

   25.    Dr. Fung-Schwartz discussed her options with Cerner personnel to

move non-Medicare medical billing to Cerner. She had discussions with one or

more Cerner sales representatives who prepared a proposal and sales orders.

   26.    Exhibits 2 is the September 2, 2014 Cerner Sales Order prepared by Rick

Goodman for signature by Kim Hlobik. Upon information and belief, Rick

Goodman was Senior Manager, Ambulatory Sales for Cerner Corp. from January

2010 to September 2015. Upon information and belief, Kim Hlobik has been an

employee of Cerner Corp. since August 2000.

   27.    Exhibit 3 is the November 19, 2014 Cerner Sales Order prepared by

Mark Banville and Cerner Ambulatory Business Office Services Proposal. Upon

information and belief, Mark Banville has been a Sales Executive for Cerner

Corp. Since March 2010.




                                    Page 4 of 29
   28.   The proposal represented Cerner’s services include, “Well trained and

experienced revenue cycle and billing professionals.”

   29.   Cerner said it delivers performance up to industry standards:

             We align ourselves to the Healthcare Financial
             Management Association (HFMA) and Medical
             Group Management Association (MGMA) standards
             for measuring and improving billing and collection
             performance. Cerner Ambulatory Services also
             adheres to the OIG third party medical billing
             guidelines to provide you a high level of compliance
             with applicable laws and regulations.

   30.   Cerner assured Dr. Fung-Schwartz it would “Review, scrub and

process claims (primary, secondary, tertiary) daily. Cerner stated:

             Prior to processing Client’s claims, Cerner will review
             – for completeness – claim details, including patient
             demographic information, procedure and diagnosis
             coding, and other detail son the claim. Cerner will
             use a combination of human review and automated
             claim scrubbing to maximize clean claim percentage.
             After the claim has been scrubbed, Cerner will submit
             the claim to the appropriate payer through a
             clearinghouse. Cerner will also submit secondary and
             tertiary claims as necessary.

   31.   As part of “Patient Responsibility Management,” Cerner would

“Generate and mail patient statements in the Client’s name and according to a

standard statement cycle.”

   32.   Cerner represented “Cerner’s Consumer Care team manages calls for

all Cerner Revenue Cycle Ambulatory Services Clients. Patient statements

include a toll-free number that can be used to speak directly to a member of our

team regarding any questions on their account.”




                                   Page 5 of 29
   33.   For Accounts Receivable (“A/R”), Cerner claimed that “Cerner will

assume the primary responsibility and will first attempt to research and correct

all denied or rejected claims.”

   34.   Under this Scope of Services and Responsibilities, Cerner represented

that only Dr. Fung-Schwartz could “Approve bad debt write-offs/adjustments.”

Cerner assured Dr. Fung-Schwartz that, “To ensure A/R metrics are accurate

and meaningful, Client will approve writing off or turning over to a collection

agency, uncollectible patient balances. Cerner will seek Client’s approval to

write off balances where the patient has received three statements and no

response of potential payment by the patient.”

   35.   Prior to contracting with Plaintiff, Cerner sales personnel represented

that Cerner was capable of handling her billing and timely obtaining re-

imbursement for her services from private insurers and government insurance

programs, such as Medicare.

   36.   They further represented that the new billing would work well with the

existing Cerner EMR tools Dr. Fung-Schwartz was already using to do her

billing. This was a factor in her choice of Cerner over the process of starting with

a different company.

   37.   Cerner represented that the Practice would be billed at a rate of 9.21%

of “total net revenue” with a monthly minimum of $1750 and that price would

include the EMR as well as the RCM. The price was set based on the Practice’s

previous levels of billings. Cerner represented to Dr. Fung-Schwartz that if she

maintained her then-current level of billing the new Cerner contract would not

cost more than her previous combined costs for RCM and EMR services.


                                    Page 6 of 29
                                 Medicare Billing

   38.   Cerner personnel persuaded Dr. Fung-Schwartz that she should move

all her billing – including the Medicare billing – to Cerner by representing, inter

alia, that (1) Cerner was capable of meeting the requirements for Medicare

billing, (2) Cerner would be no more expensive than her then-current vendor and

(3) having only one vendor would simplify billing and support.

   39.   Accordingly, in 2014, the Practice contracted with Cerner Solutions for

Cerner Solutions and Cerner Corp. to provide billing services by submitting a

signed sales order to Cerner Corp.

   40.   Upon information and belief, at the time Cerner was making

representations to Dr. Fung-Schwartz to induce her to sign the RCM sales order,

Cerner knew it had problems with its system for processing claims and obtaining

reimbursement from insurers, particularly for Medicare claims.

   41.   As early as June 2013 at least one doctor had problems with Cerner’s

RCM for submitting Medicare claims and complained to Cerner.

   42.   The Practice began submitting its claims through Cerner RCM in or

about December 2014.

   43.    Soon after starting with Cerner RCM, the Practice’s revenues fell off

dramatically. Dr. Fung-Schwartz noticed a marked decline in revenue even

though her workload and billing remained consistent. A large proportion of the

decline was for claims submitted to Medicare.

   44.   Exhibit 4 is a redacted version of two paper claims Cerner submitted to

Medicare, close-ups of the addresses and a notice indicating why the claims were




                                     Page 7 of 29
rejected. (Dr. Fung-Schwartz wrote, “spoke to Samantha about this” on one of

the forms.) The forms have the following defects:

         a.        The computer-generated name and address of the insurer is
                   wrong.
         b.        The computer-generated insured’s ID number (redacted on
                   the exhibit) is wrong.
         c.        The incorrect information is whited-out on the form.
         d.        A different address and ID number (redacted) are
                   handwritten onto the forms.

   45.   Upon information and belief, Cerner was attempting to submit paper

claims because Cerner had a problem with its computer system and could not

submit the form electronically.

   46.   Upon information and belief, the computer-generated information on

the form is wrong because the Cerner system did not have the ability to

consistently prepare proper claims.

   47.   Upon information and belief, Cerner improperly attempted to correct

the forms by handwriting onto them because Cerner knew it could not fix the

problems in its computer system and generate either (1) an electronic claim or (2)

a properly printed form.

   48.   Exhibit 4, p. 5 shows that Medicare rejected the claim for using white-

out.

   49.   Either Cerner did not know the requirements for submitting paper

claims to Medicare or it knew the claims would be rejected for having white-out

on them and deliberately submitted the improper claims.

   50.   Upon information and belief, Cerner’s improper submission of

Medicare claims affected patients of other practices as well.




                                      Page 8 of 29
   51.    If a Medicare recipient has secondary insurance, Medicare

automatically submits the claim to the secondary insurer. Submitting a claim to

a secondary insurer will result in a duplicate claim that gets rejected.

Nevertheless, Cerner repeatedly submitted claims to secondary insurers of

Medicare insureds.

   52.    As a result of Cerner’s improper actions, Dr. Fung-Schwartz repeatedly

received letters from a secondary insurer, Emblem Health, telling her that

duplicate claims had been submitted by her and “we can initiate a fraud

investigation if we see a pattern of duplicate billing.”


                      Relationship to Patients and Insurers

   53.    Dr. Fung-Schwartz and the Practice participate as providers in various

insurance plans and Medicare through contracts with the insurers.

   54.    Insured patients authorize the insurers to pay their benefits directly to

the provider. So it is Dr. Fung-Schwartz or the Practice who submits the claim to

obtain the insured patient’s benefits.


                      Late Billing and Accounts Receivable

   55.    The Cerner caused the Practice to lost money because Cerner submitted

claims late and/or wrote off charges without consulting Dr. Fung-Schwartz.

Exhibit 5 is an example.

   56.    The insurer was supposed to be billed for a surgical procedure on

August 12, 2015 which cost $475. The patient paid $20 as a co-pay.

   57.    Cerner did not submit a claim to the insurer, Oxford, until January 18,

2016, more than 120 days after the procedure. According to Cerner employee,


                                     Page 9 of 29
Samantha Wright, the claim got “stuck in emr and was submitted late due to

system issues.” Cerner submitted the claim twice, both times on paper.

   58.   Under New York law, insurers do not have to pay medical bills if they

are submitted more than 120 days after the services were provided.

   59.   Oxford refused to pay the late claim. Cerner claims it appealed.

   60.   One inducement for the Practice to sign the Cerner RCM sales order

was that Cerner represented it would “provide you a high level of compliance

with applicable laws and regulations.”

   61.   New York law requires a late claim to be paid when it “was a result of

an unusual occurrence and that he or she [the provider] has a pattern or practice

of timely submitting claims.”

   62.   Upon information and belief, either (1) Cerner was not able to claim

that the late submission was unusual and it had a pattern or practice of timely

submitting claims on behalf of the Dr. Fung-Schwartz or, (2) Cerner did not make

the proper argument under New York law.

   63.   Oxford denied the appeal on the claim.

   64.   One inducement to enter into the contract was that Cerner represented

that it would not write off Accounts Receivable without approval from Dr. Fung-

Schwartz. Cerner did not consult Dr. Fung-Schwartz about the write-off or even

disclose that it had submitted the claim late. Instead on April 20, 2016 Cerner

unilaterally wrote off $475 from the account.

   65.   The amount that Cerner wrote off – $475 – was also a incorrect. The

patient had paid the $20 co-pay, so the amount the insurer should have been

billed for was $455. The account was left with a -$20 balance. When Cerner


                                   Page 10 of 29
unilaterally wrote off the incorrect $475 amount, Cerner made it look like the

money had been collected. They may have charged 9.21% to the Practice.

   66.   Upon information and belief, either Cerner’s system does not flag

accounts with a negative balance (so they can be reviewed and the overage

returned to the proper party) or Cerner intentionally and deliberately concealed

the flag so Dr. Fung-Schwartz would not know about the write-off.

   67.   Upon information and belief, this is not an isolated incident and Cerner

repeatedly hid botched claims from the Practice and Dr. Fung-Schwartz and

wrote them off without the authorization which Cerner had promised to obtain

from Dr. Fung-Schwartz.

   68.   Upon information and belief, if a claim was not written off, then after

the insurer rejects the claim, Cerner still sent statements in Dr. Fung-Schwartz’s

name to patients that make it look like they owe the money. Upon information

and belief, patients also received a document from their insurer stating that the

claim was denied.

   69.   One patient contacted the Practice because she knew she had insurance

that was supposed to cover the claim and, upon information and belief, Cerner

had sent her a statement which led her to believe Dr. Fung-Schwartz was

attempting to collect the claim from the patient.


Cerner Personnel, Reporting and The Practice’s Termination of RCM Services

   70.   To induce Dr. Fung-Schwartz to enter accept the RCM sales order,

Cerner represented that it had “Well trained and experienced revenue cycle and

billing professionals.” Upon information and belief, at the time Cerner made

that statement, it knew that it had a problem with inadequate training of its

                                   Page 11 of 29
personnel, high turnover and inexperienced workers and it would not live up to

its representation.

   71.    Cerner had received complaints from customers about the inadequacy

of its employees. The issue of high turnover, inexperienced and poorly trained

Cerner personnel being assigned to clients is an issue in at least one litigation

against Cerner.

   72.    Cerner represented to Dr. Fung-Schwartz that Cerner terminated the

employment of Samantha Wright (referenced in ¶ 57 and Exhibit 5) for

incompetence.

   73.    Dr. Fung-Schwartz repeatedly contacted Cerner Solutions, Cerner

customer support and her account representative, Melissa Jones, to attempt to

resolve the problems. Upon information and belief, Melissa Jones has been en

employee of Cerner Corp. since August 2011. For example, Dr. Fung-Schwartz

had a conference call with Ms. Jones and other Cerner personnel in July 2015

after the Practice’s revenue had plummeted. Dr. Fung-Schwartz explained that

there was no reason to stay with Cerner when the Practice already had a vendor

who could properly submit claims to Medicare. Ms. Jones and Cerner falsely

represented that they could fix the problems to induce Dr. Fung-Schwartz not to

leave Cerner.

   74.    Cerner was never able to consistently submit Medicare claims properly.

   75.    Dr. Fung-Schwartz also periodically reviewed the monthly metrics

reports with Ms. Jones and other Cerner personnel. The reports showed

increasing amounts of Accounts Receivable, meaning that Cerner was not

collecting insurance claims. Dr. Fung-Schwartz repeatedly demanded that


                                    Page 12 of 29
Cerner address the Accounts Receivable issue and collect the claims. Cerner

refused.

   76.      Finally, on a conference call with Ms. Jones and Cerner personnel in

February 2016, Cerner acknowledged that the Practice had the right to withdraw

from the RCM sales order. Cerner again refused to collect the outstanding

Accounts Receivable.

   77.      Upon information and belief, Cerner caused the Practice and Dr. Fung-

Schwartz to lose at least $220,000 of revenue.

   78.      Dr. Fung-Schwartz had to borrow money to cover her expenses.

   79.      In April 2016, Melissa Jones contacted Dr. Fung-Schwartz to set a

termination date for the RCM services. Dr. Fung-Schwartz informed her that the

practice would cease using the RCM services on June 1, 2016.

   80.      After leaving the billing arrangement with Cerner, Dr. Fung-Schwartz

obtained another service provider for the Practice’s billing. With the new

vendor, the Practice’s revenues returned to the level they were before she

contracted with Cerner.


           Cerner’s Illegal Conversion of the Electronic Medical Records

   81.      None of the Defendants owns the Electronic Medical Records.

   82.      Under HIPAA, 42 U.S.C. § 1320d and/or related regulations, Cerner

was required to continue to provide access to the EMR.

   83.      By May 31, 2016 the Practice has stopped submitting claims with

Cerner RCM. The Practice and Dr. Fung-Schwartz continued to use the EMR

software.



                                     Page 13 of 29
   84.    In March 2016, New York State implemented a mandatory electronic

prescription program. Dr. Fung-Schwartz had Cerner add this feature to her

EMR software.

   85.    In April 2016, Dr. Fung-Schwartz made a $6000 payment to Cerner.

The cost of the EMR software was approximately $700/month.

   86.    In New York State, patients are entitled to examine and copy medical

records even if there is a fee dispute. HIPAA also requires patients have access

to medical records.

   87.    On September 23, 2016 at 3:51 p.m., Cerner Corp.’s outside counsel,

Nathan Neuman, Esq., sent an e-mail to Plaintiff stating in relevant part:

              Dear Dr. Schwartz:
              This email will confirm that this office represents
              Cerner Corp. dba Cerner Physician Practice, Inc.
              (collectively hereafter “Cerner”) regarding a debt
              obligation owed to it by Jennifer Fung-Schwartz,
              DPM [alleged to be over $100,000] per Section 3.2 of
              the attached Cerner Physician Practice Software
              License, Hardware Purchase, [sic. and] Support
              Services Agreement (hereafter the “Agreement”) with
              a services start date of March 24, 2006…

(emphasis added).

   88.    Dr. Fung-Schwartz retained counsel, Joseph Paterno III, Esq., to

respond to Mr. Neuman. Dr. Fung-Schwartz’s counsel talked and wrote to Mr.

Neuman. On October 10, 2016 Mr. Paterno wrote to Cerner Corp.’s counsel, Mr.

Neuman, offering $10,000 to settle the dispute. He also sought to have the

patient information returned to the Practice and Dr. Fung-Schwartz as required

by law:

          Cerner shall archive and allow access to all of Dr.’s patient files and
          records, such that the entire physical and electronic patient files may be


                                    Page 14 of 29
         read and printed by Dr. at a commercially reasonable fee, which fee
         shall be expeditiously disclosed by Cerner to Dr. in advance

   89.   Mr. Neuman wrote back that day, affirming that his client, Cerner

Corp. was a party to the contract and stating in part:

                Cerner has just recently terminated the contract … and all
                services with Dr. Fung-Schwartz including EMR

(emphasis added). Cerner Corp.’s counsel, Mr. Neuman, refused to address

the issue of returning the patient medical records.

   90.   Without prior notice, Cerner abruptly cut off access to Dr. Fung-

Schwartz’s Electronic Medical Records on October 13, 2016.

   91.   Without access to the EMR, Dr. Fung-Schwartz could not treat patients

or even view her patients’ records. The Practice could not see the calendar or

basic patient contact information, so they could not call patient to cancel

appointments. The Practice could not schedule appointments, enter lab results

into the system or verify insurance coverage. Dr. Fung-Schwartz could not

prescribe medications without access to the EMR.

   92.   Neither Dr. Fung-Schwartz nor Practice employees could view any

financial information for the Practice.



                                 Count 1: Conversion

   93.   Plaintiffs restate and reallege paragraphs 1 through 92 as if fully set

forth herein.

   94.   Defendants do not have any property interest in Patients’ confidential

electronic medical records (EMR).




                                    Page 15 of 29
   95.       Cerner illegally withheld patient medical information from their

treating physician so that patients could not receive treatment.

   96.       Defendants actions caused injury and continues to harm Patients’

interests.


               Count 2: Deceptive Business Practices under NY GBL § 349

   97.       Plaintiffs restate and reallege paragraphs 1 through 96 as if fully set

forth herein.

   98.       Defendants engaged in the deceptive business practices described

herein, including (1) systematically failing to timely submit claims to insurers, (2)

representing to Dr. Fung-Schwartz that Defendants had the capability to

properly process the claims, (3) representing to Dr. Fung-Schwartz that Cerner

complied with OIG third party medical billing guidelines, (4) representing to

patients that patients owed balances which were actually amounts covered by

insurance, and (5) intentionally cutting off access to patient medical records in

violation of federal and New York law so she would not be able to treat patients

or write prescriptions and her patients would be denied access to treatment.

   99.       Patients were injured as a result of Defendants’ deceptive business

practices.

                                    Count 3: Negligence

   100. Plaintiffs restate and reallege paragraphs 1 through 99 as if fully set

forth herein.

   101. Defendants owed Patients a duty to comply with, inter alia, Office of the

Inspector General third party medical billing guidelines, federal law and New

York law to properly submit claims to insurers.

                                       Page 16 of 29
   102. Defendants owed Patients a duty to comply with federal and New York

law to keep patient medical records available to their physician.

   103. Cerner failed to timely submit Patient insurance claims properly and

Cerner wrongfully withheld patient medical information from their treating

physician.

   104. Patients were injured by Defendants’ action.


                                   Count 4: Fraud

   105. Plaintiffs restate and reallege paragraphs 1 through 104 as if fully set

forth herein.

   106. Prior to entering the 2014 RCM contract, Defendants knowingly made

the false statements to Dr. Fung-Schwartz described herein, including (1)

representing to Dr. Fung-Schwartz that Defendants had the capability to

properly process the claims, (2) representing to Dr. Fung-Schwartz that Cerner

complied with Office of the Inspector General third party medical billing

guidelines, (3) representing to Dr. Fung-Schwartz that she would have to

approve any instance of writing off unpaid claims and (4) representing her total

cost for RCM and EMR services would not increase.

   107. Dr. Fung-Schwartz and the Practice relied on Cerner’s false

representations when she signed and returned the sales order to Cerner Corp.

and switched over her Medicare billing from her prior vendor to Cerner.

   108. As a result of Cerner’s representations and Dr. Fung-Schwartz’s

reliance on them, Dr. Fung-Schwartz and the Practice were injured.




                                   Page 17 of 29
                                   Count 5: Fraud

   109. Plaintiffs restate and reallege paragraphs 1 through 108 as if fully set

forth herein.

   110. During the course of the RCM contract, Defendants knowingly made

the false statements to Dr. Fung-Schwartz described herein and withheld

material information to induce her not to terminate the RCM contract, including

(1) representing to Dr. Fung-Schwartz that Defendants were capable of fixing the

billing problems, (2) representing to Dr. Fung-Schwartz that Defendants were

capable of fixing the personnel problems and (3) concealing from Dr. Fung-

Schwartz the fact that Cerner was writing off claims without her approval.

   111. Dr. Fung-Schwartz and the Practice relied on Cerner’s false

representations and continued to use Cerner’s RCM services until June 1, 2016.

   112. As a result of Cerner’s representations and Dr. Fung-Schwartz’s

reliance on them, Dr. Fung-Schwartz and the Practice were injured.


                    Count 6: (alternate) Fraud By Cerner Corp.
                    In Claiming It Was A Party to the Contact

   113. Plaintiffs restate and reallege paragraphs 1 through 112 as if fully set

forth herein.

   114.   Cerner Corp. falsely represented to Dr. Fung-Schwartz that it had

contracted with her and that she owed Cerner Corp over $100,000.

   115. Cerner Corp. falsely represented to Dr. Fung-Schwartz that Cerner

Corp. was the entity that terminated the agreement to provide services, including

EMR services.




                                   Page 18 of 29
   116. Cerner Corp. knew that it was not a proper party to the contract and

that the contract was with the Practice, not Dr. Fung-Schwartz individually, and

upon information and belief, Cerner Corp. intended to mislead Dr. Fung-

Schwartz to obtain money from her.

   117. Dr. Fung-Schwartz relied on Cerner Corp.’s false representation. That

reliance included (1) retaining outside counsel to negotiate with Cerner Corp. on

her behalf, (2) offering to settle Cerner Corp.’s claims for $10,000, (3) retaining

litigation counsel to investigate Cerner Corp., name it in the lawsuit 16 Civ. 8019

and contact it about the TRO motion, and (4) retaining litigation counsel to name

Cerner Corp. in this action, 17 Civ. 233.

   118. As a result of Cerner Corp.’s representations and Dr. Fung-Schwartz’s

reliance on them, Dr. Fung-Schwartz was injured and continues to be injured.


            Count 7: Deceptive Business Practices under NY GBL § 349

   119. Plaintiffs restate and reallege paragraphs 1 through 119 as if fully set

forth herein.

   120. Defendants engaged in the deceptive business practices described

herein, including (1) systematically failing to timely submit proper claims to

insurers, (2) representing to Dr. Fung-Schwartz that Defendants had the

capability to properly process the claims, (3) representing to Dr. Fung-Schwartz

that Cerner complied with OIG third party medical billing guidelines and (4)

representing to patients that patients owed balances which were actually

amounts covered by insurance.

   121. Dr. Fung-Schwartz and the Practice were harmed as a result of

Defendants’ deceptive business practices.

                                     Page 19 of 29
            Count 8: Deceptive Business Practices under NY GBL § 349

   122. Plaintiffs restate and reallege paragraphs 1 through 121 as if fully set

forth herein.

   123. Defendants engaged in the deceptive business practices described

herein, including intentionally cutting off access to patient medical records in

violation of federal and New York law.

   124. Dr. Fung-Schwartz and the Practice were harmed as a result of

Defendants’ deceptive business practices.


                                Count 9: Conversion

   125. Plaintiffs restate and reallege paragraphs 1 through 124 as if fully set

forth herein.

   126. Defendants’ do not have any property interest in Dr. Fung-Schwartz’s

electronic medical records (EMR) or patients’ insurance claims.

   127. Defendants took patients’ insurance claims and destroyed their value.

   128. Dr. Fung-Schwartz repeatedly asked Cerner to properly submit or re-

submit patient claims. Cerner failed to do so.

   129. Patients were injured by Defendants’ actions.

   130. Dr. Fung-Schwartz requested the electronic medical records be turned

over to her and even offered to pay Defendants any reasonable costs to archive

the records so she could access them. Cerner refused.

   131. Plaintiffs were injured by Cerner’s actions.




                                    Page 20 of 29
                     Count 10: Tortious Interference with Contract

   132. Plaintiffs restate and reallege paragraphs 1 through 131 as if fully set

forth herein.

   133.     Dr. Fung-Schwartz had valid contracts with the insurers which entitled

her to payment for claims.

   134. Defendants were aware of those contracts.

   135. Defendants intentionally caused the insurers not to issue payment, for

by example, knowingly submitting paper claims with white-out and claims with

other deficiencies which Cerner knew would not be accepted by the insurers and

by double-billing insurers, which exposed Dr. Fung-Schwartz to allegations of

fraud..

   136. Defendants actions caused injury to Dr. Fung-Schwartz and the

Practice.


                Count 11: Tortious Interference with Business Relations

   137. Plaintiffs restate and reallege paragraphs 1 through 136 as if fully set

forth herein.

   138. Defendants caused the insurers not to issue payment, for by example,

knowingly submitting paper claims with white-out and claims with other

deficiencies which Cerner knew would not be accepted by the insurers and by

double-billing insurers, which exposed Dr. Fung-Schwartz to allegations of

fraud.

   139. Defendants actions caused injury to Dr. Fung-Schwartz and the

Practice.

                                    Page 21 of 29
                     Count 12: Tortious Interference with Contract

   140. Plaintiffs restate and reallege paragraphs 1 through 139 as if fully set

forth herein.

   141.   Dr. Fung-Schwartz had valid contracts with the Patients which entitled

her to payment for claims.

   142. Defendants were aware of those contracts.

   143. Defendants illegally cut off Dr. Fung-Schwartz’s access to the EMR,

including the ability to prescribe medications.

   144. Defendants intentionally caused the insurers not to issue payment, for

by example, knowingly submitting paper claims with white-out and claims with

other deficiencies which Cerner knew would not be accepted by the insurers.

   145. Defendants intentionally caused Dr. Fung-Schwartz to cancel

appointments and shut down her practice during the time she was denied access

to the EMR.

   146. Defendants falsely told patients they owed Dr. Fung-Schwartz money.

   147. Defendants actions caused injury to Plaintiffs.


                Count 13: Tortious Interference with Business Relations

   148. Plaintiffs restate and reallege paragraphs 1 through 147 as if fully set

forth herein.

   149. Defendants maliciously and illegally cut off Dr. Fung-Schwartz’s access

to the EMR, including the ability to prescribe medications.




                                    Page 22 of 29
   150. Defendants intentionally caused the insurers not to issue payment, for

by example, knowingly submitting paper claims with white-out and claims with

other deficiencies which Cerner knew would not be accepted by the insurers.

   151. Defendants intentionally caused Dr. Fung-Schwartz to cancel

appointments and shut down her practice during the time she was denied access

to the EMR.

   152. Defendants falsely told patients they owed Dr. Fung-Schwartz money.

   153. Defendants actions caused injury to Plaintiffs.


                       Count 14: (alternate) Prima Facie Tort

   154. Plaintiffs restate and reallege paragraphs 1 through 153 as if fully set

forth herein.

   155. Defendants intentionally cut off Dr. Fung-Schwartz’s access to the EMR

system.

   156. Defendants caused Dr. Fung-Schwartz to cancel appointments and shut

down her practice during the time she was denied access to the EMR.

   157. Defendants had no justification or excuse because Dr. Fung-Schwartz

had made a payment for the EMR services in April 2016 after she had terminated

the RCM contract in February 2016.

   158. If Defendants actions are found not to be illegal, then Defendants

inflicted the harm through a lawful act.

   159. Defendants actions caused injury to Dr. Fung-Schwartz, the Practice

and Patients.




                                   Page 23 of 29
                           Count 15: Unfair Competition

   160. Plaintiffs restate and reallege paragraphs 1 through 159 as if fully set

forth herein.

   161. Defendants (1) made false and misleading statements to insurers and

patients under Dr. Fung-Schwartz’s name and or signature, including (a)

submitting duplicate claims to insurers under Dr. Fung-Schwartz’s signature, (b)

sending statements to Dr. Fung-Schwartz’s patients which falsely stated or

implied that they owed money to Dr. Fung-Schwartz, (2) knowingly submitted

claims that would be rejected and (3) secretly wrote off botched claims.

   162. Defendants acts, omissions and concealments were done intentionally

for their commercial advantage.

   163. Defendants deprived Dr. Fung-Schwartz and the Practice of benefits

and property rights belonging to them.


       Count 16: Unfair Competition and Misappropriation of Trade Secret

   164. Plaintiffs restate and reallege paragraphs 1 through 163 as if fully set

forth herein.

   165. Defendants maliciously misappropriated and concealed from Dr. Fung-

Schwartz and the Practice their (1) patient medical records and (2) trade secrets

including the Practice’s (a) financial information, (b) calendar and (c) customer

lists when Defendants illegally cut off access to the EMR system.

   166. Defendants acts and concealments were done intentionally for their

commercial advantage.

   167. Defendants deprived Dr. Fung-Schwartz and the Practice of benefits

and property rights belonging to them.

                                   Page 24 of 29
                           Count 17: Breach of Contract

   168. Plaintiffs restate and reallege paragraphs 1 through __ as if fully set

forth herein.

   169. As described herein, Defendants’ breached the terms of the contract.

   170. The Practice performed under the contract.

   171. Defendants’ material breach harmed the Practice.


                               Count 18: Negligence

   172. Plaintiffs restate and reallege paragraphs 1 through 171 as if fully set

forth herein.

   173. Defendants owed Dr. Fung-Schwartz and the Practice a duty to comply

with, inter alia, OIG third party medical billing guidelines, federal law and New

York law to properly submit claims to insurers.

   174. Defendants owed Dr. Fung-Schwartz and the Practice a duty to comply

with federal and New York law to keep patient medical records available to their

physician.

   175. Cerner failed to timely submit Patient insurance claims properly.

   176. Cerner wrongfully withheld patient medical information from their

treating physician.

   177. Dr. Fung-Schwartz and the Practice were injured by Defendants’ action.




                                   Page 25 of 29
WHEREFORE Plaintiff demands judgment:

(1)    That Defendants, their agents, servants, employees, attorneys and those

       persons in active concert or participation with Defendants be

       preliminarily and permanently enjoined and restrained throughout the

       United States from deleting, destroying, altering, amending or

       otherwise changing any of Dr. Fung-Schwartz’s electronic medical

       records;

(2)    That Defendants, their agents, servants, employees, attorneys and those

       persons in active concert or participation with Defendants be

       preliminarily and permanently enjoined and restrained throughout the

       United States from withholding electronic medical records from Dr.

       Fung-Schwartz;

(3)    That Defendants be required to make available the electronic medical

       records at issue and cooperate with Dr. Schwartz and any vendor she

       hires so that she can export, download, print and/or otherwise obtain

       her own electronic and hard copies of the records;

(4)    That Defendants reimburse Dr. Fung-Schwartz and the Practice for the

       fees paid for the billing services;

(5)    That Defendants reimburse Dr. Fung-Schwartz and the Practice for the

       costs of migrating EMR and RCM services to other products and

       vendors;

(6)    That Defendants pay Dr. Fung-Schwartz and the Practice $220,000 or

       such other amount proved which Defendants failed to submit or obtain

       from third parties;


                                  Page 26 of 29
(7)    That Defendants pay such other damages as are proved suffered by

       Plaintiffs as a result of Defendants’ conduct;

(8)    That Defendants pay punitive damages;

(9)    That Defendants pay treble damages for each insurance claim pursuant

       to, inter alia, NY GBL § 349;

(10)   That Defendants pay the supplemental civil penalty under NY GBL

       § 349-c and that such damages be assessed for each insurance claim

       involving a person 65 years of age or older;

(11)   That Defendants pay costs and attorney fees pursuant to, inter alia, NY

       GBL § 349;

(12)   That Defendants pay pre-judgment interest;

(13)   That Plaintiffs be awarded such other and further relief as this Court

       may deem just and proper.




                                  Page 27 of 29
                             Certification of Service

         I, Elizabeth Shieldkret, hereby certify that a true and correct copy of the

foregoing Amended Complaint and Jury Demand is being electronically filed

with the court on June 15, 2017 and is, therefore, being served on Defendants’

counsel of record by the court’s CM/ECF system.



                            By:       /s/ Elizabeth Shieldkret
                                      Elizabeth Shieldkret




                                   Page 29 of 29
